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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


    FAIR FIGHT ACTION, INC, et al.,
         Plaintiffs,
         v.                                         Civil Action No.
                                                    1:18-cv-05391-SCJ
    BRAD RAFFENSPERGER, et al.,
      Defendants.




                         PLAINTIFFS’ MOTION FOR
                       PARTIAL SUMMARY JUDGMENT

        Plaintiffs Fair Fight Action, Inc. and Baconton Missionary Baptist Church,

Inc., (collectively, “Moving Plaintiffs”)1 move this Court for summary judgment in

their favor pursuant to Fed. R. Civ. P. 56 and Local Rule 56.1. As shown by the

attached Plaintiff’s Memorandum of Law in Support of Motion for Partial

Summary Judgment, and the Exhibits attached to and filed with that Memorandum,

there are no material issues of fact in dispute and, as a matter of law, Moving

Plaintiffs are entitled to summary judgment on Count VI of the First Supplemental

Complaint.


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  Care in Action, Inc., Ebenezer Baptist Church of Atlanta, Georgia, Inc., Virginia
Highland Church, Inc., and Sixth Episcopal District, Inc. are Plaintiffs in this
litigation but do not bring this motion.

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      WHEREFORE, Moving Plaintiffs respectfully request that this Court enter

summary judgment in their favor.




                               CERTIFICATION

      I hereby certify that the foregoing has been prepared with a font size and

point selection (Times New Roman, 14 pt.), which is approved by the Court

pursuant to Local Rules 5.1(C) and 7.1(D).

      Respectfully submitted this, the 26th day of April, 2022.

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                         CERTIFICATE OF SERVICE

      I hereby certify that, on April 26, 2022, the foregoing PLAINTIFFS’

MOTION FOR PARTIAL SUMMARY JUDGMENT was filed with the Court

using the ECF system, which will serve all counsel of record.

      This, the 26th day of April, 2022.


                                     /s/ Allegra J. Lawrence
                                     Allegra J. Lawrence




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